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Attorneys for Plaintiff

                               UNITED STATES DISTRICT COURT
                                 IN THE DISTRICT OF IDAHO

 MAURICE JOHN,                                             Case No. 4:20-cv-00071-BLW

                          Plaintiff,                 STIPULATION OF DISMISSAL WITH
                                                               PREJUDICE
 v.

 CORE BRACE, LLC, a Utah Limited
 Liability Company; SME INDUSTRIES,
 INC., a Nevada Corporation, doing business
 as CORE BRACE,

                          Defendants.

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Maurice

John and Defendants CoreBrace, LLC and SME Industries, Inc., by and through their undersigned

counsel of record, hereby stipulate that the above matter be dismissed with prejudice, each party to

pay their own costs and attorneys’ fees incurred in this matter.


Dated this 26th day of January, 2022.          /s/
                                              Amanda E. Ulrich
                                              CASPERSON ULRICH DUSTIN PLLC




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Dated this 26th day of January, 2022.     /s/
                                        David P. Gardner
                                        HAWLEY TROXELL ENNIS & HAWLEY, LLP




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                                                          CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of January, 2022, I filed the foregoing electronically
through the CM/ECF system, which causes the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing.

DOCUMENT SERVED:                                      STIPULATION OF DISMISSAL WITH PREJUDICE

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                                                                                    /s/
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3-           STIPULATION OF DISMISSAL WITH PREJUDICE
